                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                             )
OLEG DERIPASKA,                              )
                                             )
               Plaintiff,                    )
                                             )
         v.                                  )       Civil Action No. 1:19-cv-00727
                                             )
STEVEN T. MNUCHIN, Secretary of              )
the Department of the                        )
Treasury, et al.,                            )
                                             )
               Defendants.                   )
                                             )


                  NOTICE OF FILING OF ADMINISTRATIVE RECORD

       Pursuant to the Court’s Scheduling Order, ECF No. 4, attached hereto is a copy of the

Administrative Record in this case. On May 21, 2019, Defendants filed the certified index of the

contents of the attached Administrative Record, see ECF No. 5 and 5-1, but omitted the

Administrative Record itself based on Defendants’ interpretation of Local Rule 7(n)(1). Since

that filing, the parties have discussed the matter and agree that the Court’s Scheduling Order

permits the filing of the complete Administrative Record in accordance with Local Rule 7(n)(1).

Dated: May 28, 2019                                  Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     DIANE KELLEHER
                                                     Assistant Director

                                                      /s/ Nicholas Cartier                       .
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